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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION
                 * * * * * * * * * * * * * * * * * * * * *
MICHELE REINHART and                     )
JEAN PRICE,                              )     Cause No.
                                         )
                    Plaintiffs,          )     Judge:
                                         )
      v.                                 )
                                         )
GREG MORTENSON and                       )     COMPLAINT FOR
CENTRAL ASIA INSTITUTE,                  )     CLASS ACTION WITH
a Corporation,                           )     DEMAND FOR JURY TRIAL
                                         )
                    Defendants,          )
                 * * * * * * * * * * * * * * * * * * * * *
 CLAIM FOR CLASS ACTION AGAINST MORTENSON AND CAI FOR
  FRAUD, DECEIT, BREACH OF CONTRACT, RICO VIOLATIONS,
      UNJUST ENRICHMENT AND CONSTRUCTIVE TRUST.
      For their claims against Defendants, Plaintiffs state and allege as follows:
      1.      Plaintiff, Michele Reinhart, is a citizen of the State of Montana,
residing in Missoula, Missoula County, Montana.
      2.      Plaintiff, Jean Price, is a citizen of the State of Montana, residing in
Great Falls, Cascade County, Montana.
      3.      Defendant, Greg Mortenson (Mortenson) is an individual residing in
Bozeman, Montana.
      4.      Defendant, Central Asia Institute (CAI) is a foreign corporation.
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      5.      CAI has expended significant sums of money to finance Mortenson’s
book tours and public speaking engagements. During these activities, Mortenson
and CAI have repeatedly fabricated material details about his activities and work
in Pakistan and Afghanistan, including specific fabrications contained in his books
Three Cups of Tea and Stones into Schools. The purpose of these fabrications was
to induce unsuspecting individuals to purchase his books and donate to CAI.
These activities have generated significant sums of money for Mortenson and CAI
in the form of book sales, public speaking fees, and charitable donations.
      6.      Mortenson wrote the book Three Cups of Tea in 2006 and sold over 4
million copies. Mortenson wrote the book Stones into Schools in 2009 and sold a
large number of copies.
      7.      Pursuant to 28 U.S.C. § 1332(d) jurisdiction in Federal District Court
is appropriate because the amount in controversy exceeds $5,000,000, exclusive of
interest and costs, the class contains more than 100 members, greater than one
third of the class members are citizens of a state different from Defendants’, and
the principle injuries resulting from Defendants’ unlawful conduct occurred
outside Montana.
      8.      These books purport to be true accounts of how Mortenson
transitioned from mountain-climbing to building schools in Pakistan and
Afghanistan for the purposes of educating girls. Mortenson has repeatedly
appeared in public to recount the events described in these books. Many of his
representations are false.
      9.      On or around September 21, 2007, Plaintiff, Michele Reinhart,
attended a presentation given by Mortenson at University of Montana’s University
Theater. During this speech Mortenson indicated his book Three Cups of Tea was
a true account of the experiences he had in Central Asia. Sometime around
December 14, 2009, Plaintiff, Michele Reinhart, purchased a copy of the book at

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University of Montana Bookstore, located at 5 Campus Drive, Missoula, MT
59801. She paid approximately $12.00 to purchase the book. Jean Price attended
a speaking engagement put on by Mortenson and/or CAI in Great Falls in 2009,
and relying on the truthfulness of his statements, made a donation to CAI.
Thereafter, she was solicited for contributions by Mortenson and/or CAI through
the U.S. Mail, relied on the truth of the statements made by Mortenson and CAI
and made a further donation to CAI.
      10.    In an effort to entice people to buy his two books, pay him speaking
fees, and donate to CAI, Mortenson and CAI have consistently maintained that his
books and public statements are true. His books and public statements contain
many fabrications which he and/or CAI have repeated publicly on numerous
occasions.
      11.    Mortenson and CAI committed actual fraud against Plaintiffs by
inducing them to donate to CAI and purchase the book that Mortenson and CAI
publicly represented to be a true work when in fact Mortenson’s books contained
numerous fabrications. The elements of actual fraud have been satisfied because,
1) Mortenson and CAI represented to Plaintiffs that the book Three Cups of Tea
and his public statements were true accounts based on events which actually took
place; 2) The representations were false in that many of the statements were
completely falsified; 3) The representations were material because they pertained
to integral aspects of the book’s narrative and public statements which led
Plaintiffs to believe that they were purchasing a book and donating based entirely
on factual information; 4) Mortenson and CAI knew the representations were false
because they described in his books and public statements events involving
Mortenson that never occurred; 5) By representing that this book and public
statements were based on fact, Mortenson and CAI intended Plaintiffs to rely upon
these misrepresentations and to purchase the book and donate with the mistaken

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belief that they were true; 6) Plaintiffs were completely ignorant to the fact that
Mortenson and CAI included fabrications within the book and public statements;
7) Plaintiffs relied upon the truth of the representations to their determent by
purchasing a book and making donations that they otherwise would not have
purchased or donated had they known of the falsified information; 8) It was
reasonable for Plaintiffs to rely upon Mortenson’s and CAI’s representations
because Mortenson was a world renowned author and CAI a renowned non-profit
corporation. When Mortenson and CAI represented that this book and public
statements were factual, Plaintiffs had every right to rely upon those
representations; 9) Plaintiffs were damaged by their reliance on Mortenson’s and
CAI’s false representations in the amount of the purchase price of the book, and
the amount of the donation.
      12.    Venue is proper in Missoula County because the tort against Michele
Reinhart occurred there and because Michele Reinhart, in her claim against CAI,
is a resident of Missoula County and the contract was to be performed in Missoula
County.
      13.    Mortenson and CAI should be forced to disgorge the purchase price
because Michele Reinhart would not have purchased the book Three Cups of Tea
had she known that Mortenson’s public statements and books were based on
fabricated information. Mortenson and CAI should be forced to disgorge the Jean
Price donation which she would not have made had she known that Mortenson’s
public statements and books were based on fabricated information.
      14.    The conduct of Mortenson and CAI constitutes malice and/or other
egregious conduct for which a jury should award punitive damages in an amount it
determines appropriate under the circumstances.
      15.    Mortenson and CAI are liable to Plaintiffs for the tort of deceit


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because they willfully deceived Plaintiffs with the intent to induce Plaintiffs to
purchase the book and donate to Mortenson and CAI.
      16.    The conduct of Mortenson and CAI has resulted in their receiving
unjust enrichment to the detriment of Plaintiffs, and Mortenson and CAI are liable
to disgorge the purchase price and the donation to prevent unjust enrichment.
      17.    In order to induce Plaintiffs to purchase the book and donate
to Mortenson and CAI, Mortenson and CAI implicitly agreed that what
Mortenson and CAI publicly represented about Mortenson’s and CAI’s work and
activities was true and that the books and public statements were true. The things
that Mortenson and CAI were publicly stating and the representations made in the
book were false, contrary to the agreement.
      18.    As a result, Mortenson and CAI are liable for breach of contract and
should disgorge the purchase price and the donation.
      19.    In all of the above-mentioned conduct and in their soliciting
donations from Jean Price by U.S. Mail, Mortenson and CAI committed mail
fraud, pursuant to 18 U.S.C. § 1341, which conduct constitutes racketeering
pursuant to 18 U.S.C. § 1961, et seq. Mortenson, an individual, and CAI, a
corporation, acted as an enterprise which affected interstate commerce. They
acted in a pattern of continual fraud over many years in using the false public
statements and the false statements in the books to obtain money by false
pretenses. The conduct of Mortenson and CAI was prohibited racketeering, and
unlawful, pursuant to 18 U.S.C. § 1962(a), (b), (c), and (d).
      As a direct result of Defendants’ racketeering, they are liable for threefold
the damages sustained by Jean Price and all similarly situated persons, in addition,
they are liable for reasonable attorneys’ fees and the Court should order
Mortenson and CAI to divest themselves of any interest, direct or indirect, in any
of the funds they received pursuant to 18 U.S.C. § 1964(a).

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      20.    Plaintiff, Michele Reinhart, as a purchaser of Three Cups of Tea, and
Jean Price as a donor, are representative parties for the class of other individuals
who purchased either of Mortenson’s books or donated to Mortenson or CAI and
have standing to bring this class action.
      21.    Based on the fraud, deceit, breach of contract and racketeering by
Mortenson and CAI in dealing with every book purchaser and/or donor,
Mortenson and CAI have been unjustly enriched by the funds they received. A
constructive trust should be created into which all of the funds obtained by
Mortenson and CAI should flow. If no constructive trust is established to receive
these funds, Mortenson and CAI, if they are permitted to retain the funds, will be
unjustly enriched. The funds in the constructive trust should then be transferred to
an appropriate third-party institution to be selected by the Court to build the
schools for girls in Afghanistan and Pakistan which Mortenson and CAI claim to
have built, but did not build.
      22.    This class is so numerous that joinder of all members is impractical
and, in this regard, Plaintiffs have no way of determining or joining all members
of this class unless this Court certifies this class. There are questions of law and
questions of fact that are common to the class because Mortenson’s and/or CAI’s
fabrications, which have been publicly reiterated and are also contained in the
books, have resulted in countless people purchasing the books and making
donations to Mortenson and CAI. The claims of Plaintiffs and the other class
members, and the defenses of Mortenson and CAI are typical, if not identical, in
all such claims being asserted on behalf of the class. Finally, the Plaintiffs can and
will fairly and adequately protect the interests of the class.
      23.    This proposed class-action should be certified because the questions
of law and/or of fact common to class members predominate over any questions

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affecting only individual members and, as a matter of fact, there are almost no
questions of law or in fact that only affect individual members, and that a class
action is superior to other available methods for fairly and efficiently adjudicating
the controversy. As a practical matter, there is no other available method. In this
regard, the Plaintiffs, bringing this class action, are in a position to show the
Court:
               (A)   Plaintiffs are in a position to have this issue resolved for all
class members who either purchased Mortenson’s books and/or donated to
Mortenson and/or CAI and for all class members who have been damaged by
Mortenson’s and CAI’s unjust enrichment and breach of contract. These other
class members do not have the knowledge, resources, legal expertise, or time to
bring these claims individually in separate actions.
               (B)   To the knowledge of Plaintiffs, there are no other cases
pending against Mortenson or CAI concerning the controversy which has already
been begun by Plaintiffs individually and on behalf of the class members in this
proposed class action.
               (C)   The desirability of concentrating the litigation of all of these
claims in this particular forum before this particular Court under these
circumstances, where the entire case turns on the common scheme of deceit, fraud,
breach of contract and unjust enrichment, employed by Mortenson and CAI, is
undeniable.
               (D)   Although all class actions have certain difficulties,
representative Plaintiffs and their counsel feel these difficulties will be much more
easily managed through a class action than through the nearly impossible
procedure of individual prosecutions.
         24.   It appears to Plaintiffs that tens of thousands of individuals have been
adversely affected by Mortenson’s and CAI’s fabrications.

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      25.    Mortenson and CAI are the entities which have the most direct
knowledge of the names and addresses of the donors who have made charitable
donations to Mortenson and CAI as well as those who purchased Mortenson’s
books. In this regard, Mortenson and CAI should be required to disclose the
names of all such donors to Mortenson and CAI and all such purchasers of
Mortenson’s books.
      26.    Although Mortenson and CAI probably have knowledge of the names
and addresses of all of their donors, they may well not have knowledge of the
names and addresses of every person who purchased the books. There is no way
to identify a large number of individual class members because Mortenson and
CAI will most likely not have mailing addresses for such class members. In this
regard, Plaintiffs will request the Court to approve a class action administrator to
disseminate an appropriate class notice. There are nationally recognized
administrators for class action legal notice programs and one of them should be
used in this case.
      WHEREFORE, Plaintiffs pray that the Court, as early as practicable, enter
an order certifying this action as a class action for the payment into a constructive
trust to be used for the purpose of building the schools Mortenson and CAI have
claimed to have built and didn’t, all donations made to Mortenson and CAI and
the purchase price of every purchased copy of Mortenson’s books, pursuant to
Rule 23, F.R.Civ.P., and to define the class, appoint class counsel, create the
appropriate notice, appoint a trustee for the constructive trust and a class action
administrator, pursuant to Rule 23(c)(2), F.R.Civ.P. Also, Plaintiffs pray on
behalf of the class, to enter judgment against Mortenson and CAI funding the
constructive trust, awarding treble damages and attorney fees on all RICO
violations, and awarding punitive damages. Plaintiffs demand trial by jury on the
class action claims for all issues which are triable by a jury.

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DATED this 5 th day of May, 2011.
                                 HOYT & BLEWETT PLLC


                                      /s/ Alexander Blewett, III
                                 Alexander (Zander) Blewett, III
                                 Anders Blewett
                                 Attorneys for Plaintiffs


                   DEMAND FOR JURY TRIAL
Plaintiffs demand that all issues be tried before a jury.
DATED this 5th day of May, 2011.
                                 HOYT & BLEWETT PLLC


                                      /s/ Alexander Blewett, III
                                 Alexander (Zander) Blewett, III
                                 Anders Blewett
                                 Attorneys for Plaintiffs




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